      CASE 0:13-cv-00711-DWF-JJG Document 4 Filed 07/22/13 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                      COURT FILE NO.: 13-CV-00711 (DWF/JJG)

Jennifer Gil,

                  Plaintiff,

v.                                                 NOTICE OF VOLUNTARY
                                                 DISMISSAL WITH PREJUDICE
Screening Reports, Inc.,

                   Defendant.


         Whereas Defendant has not served an Answer and has not served a Motion for

Summary Judgment, Plaintiff, through her undersigned counsel, HEREBY GIVES

NOTICE that, pursuant to the settlement between Plaintiff and Defendant, this action is

hereby voluntarily dismissed with prejudice by Plaintiff, pursuant to Fed. R. Civ. P.

41(a)(1).




Dated:          7/22/13                       GOOLSBY LAW OFFICE, LLC

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